21-12075-dsj        Doc 148      Filed 03/07/22 Entered 03/07/22 11:54:25              Main Document
                                              Pg 1 of 3
                                Presentment Date: March 14, 2022 at 10:00 a.m. (Prevailing Eastern Time)
                               Objection Deadline: March 11, 2022 at 4:00 p.m. (Prevailing Eastern Time)

    TOGUT, SEGAL & SEGAL LLP
    One Penn Plaza, Suite 3335
    New York, New York 10119
    (212) 594-5000
    Frank A. Oswald
    Kyle J. Ortiz
    Brian F. Shaughnessy
    Jared C. Borriello
    Counsel to the Debtors
    and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  Chapter 11

JPA NO. 111 CO., LTD. and                               Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                        Jointly Administered
                                   1
                         Debtors.


           NOTICE OF PRESENTMENT OF STIPULATED CONFIDENTIALITY
               AGREEMENT AND [PROPOSED] PROTECTIVE ORDER

                 PLEASE TAKE NOTICE that the above-captioned debtors and debtors in

possession (together, the “Debtors”), through their undersigned counsel, in accordance

with Local Rule 9074-1, will present the proposed Stipulated Confidentiality Agreement

and [Proposed] Protective Order, annexed hereto as Exhibit 1 (the “Proposed Order”), to

the Honorable David S. Jones, United States Bankruptcy Judge, in his Chambers, United

States Bankruptcy Court for the Southern District of New York, One Bowling Green,

Room 501, New York, New York 10004-1408, at 10:00 a.m. (prevailing Eastern Time) on

March 14, 2022 (the “Presentment Date”), for approval and signature.

                 PLEASE TAKE FURTHER NOTICIE that if approved, the Proposed

Order will govern discovery in the Debtors’ chapter 11 cases as set forth therein.




1
      The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
      Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
      Chiyoda-Ku, Tokyo 100-0013, Japan.
21-12075-dsj    Doc 148    Filed 03/07/22 Entered 03/07/22 11:54:25       Main Document
                                        Pg 2 of 3


               PLEASE TAKE FURTHER NOTICE that unless a written objection to the

Proposed Order is filed with the Court in accordance with customary practices of the

Court and General Order M-399 and served upon: (i) Togut, Segal & Segal LLP,

counsel for the Debtors, Attn: Frank A. Oswald, Esq. (frankoswald@teamtogut.com)

and Kyle J. Ortiz, Esq. (kortiz@teamtogut.com); and (ii) the chambers of the Honorable

David S. Jones at: jones.chambers@nysb.uscourts.gov, so as to be received by March 11,

2022, at 4:00 p.m. (Prevailing Eastern Time) (the “Objection Deadline”), there will not be

a hearing to consider the Proposed Order absent questions from the Court, and the

Proposed Order may be signed and entered by the Court.

               PLEASE TAKE FURTHER NOTICE that if a written objection to the

Proposed Order is timely filed and served, a hearing (the “Hearing”) will be scheduled

to consider the Proposed Order before the Court at a date and time to be announced.

Objecting parties are required to telephonically appear at any hearing and a failure to

appear may result in relief being granted without further action of the Court.

               PLEASE TAKE FURTHER NOTICE that General Order M-543, along

with other temporary procedures implemented by the Bankruptcy Court in connection

with the COVID-19 pandemic (including electronic filing procedures for pro se parties)

can be found by visiting www.nysb.uscourts.gov (the “Bankruptcy Court’s Website”)

and clicking on the “Coronavirus COVID-19 Protocol” banner.



                            [Concluded on the following page]




                                            2
21-12075-dsj    Doc 148   Filed 03/07/22 Entered 03/07/22 11:54:25      Main Document
                                       Pg 3 of 3


               PLEASE TAKE FURTHER NOTICE that if no timely, written objections

are filed and received in accordance with the foregoing, the Proposed Order may be

entered by the Court.

DATED:    New York, New York
          March 7, 2022
                                       TOGUT, SEGAL & SEGAL LLP,
                                       Counsel to the Debtors and Debtors in Possession
                                       JPA NO. 111 CO., LTD. and
                                       JPA NO. 49 CO., LTD.
                                       By:

                                       /s/Jared C. Borriello
                                       FRANK A. OSWALD
                                       KYLE J. ORTIZ
                                       BRIAN F. SHAUGHNESSY
                                       JARED C. BORRIELLO
                                       One Penn Plaza, Suite 3335
                                       New York, New York 10119
                                       (212) 594-5000




                                          3
